                                 NUMBER 13-24-00008-CV

                                     COURT OF APPEALS

                        THIRTEENTH DISTRICT OF TEXAS

                           CORPUS CHRISTI – EDINBURG


DAE JOON KIM,                                                                            Appellant,

                                                       v.

THE UNIVERSITY OF TEXAS
RIO GRANDE VALLEY AND
JOHN H. KROUSE,                                                                           Appellee.


                 ON APPEAL FROM THE 476TH DISTRICT COURT
                        OF HIDALGO COUNTY, TEXAS


                                 MEMORANDUM OPINION

      Before Chief Justice Contreras and Justices Tijerina and Peña
            Memorandum Opinion by Chief Justice Contreras

        Appellant Dae Joon Kim filed suit against appellee The University of Texas Rio

Grande Valley (UTRGV) for unlawful employment discrimination and retaliation. 1 UTRGV


        1 John H. Krouse was named as a defendant in Kim’s live petition, but he did not join in UTRGV’s

plea to the jurisdiction and is not a party to this appeal.
filed a plea to the jurisdiction arguing that Kim failed to timely exhaust his administrative

remedies. Kim’s sole argument on appeal is that the trial court erred when it granted

UTRGV’s plea. We affirm.

                                   I.     BACKGROUND

       Kim is currently employed as a researcher and tenured associate professor at

UTRGV’s School of Medicine. On November 16, 2021, Kim filed a formal charge of

discrimination with the Texas Workforce Commission (TWC). In his charge, Kim checked

the boxes indicating race, sex, and national origin discrimination, and retaliation. Kim

wrote that the earliest date of discrimination was November 26, 2018, and the latest date

of discrimination was May 17, 2021. Kim also checked the box on the charge form that

indicated the discrimination was a “continuing action.” In the narrative section of the

charge, he provided:

       I have suffered discrimination and retaliation by various members of the
       administration and staff of University of Texas Rio Grande Valley [] School
       of Medicine (UTRGV) based on race, national origin, and gender, as well
       as for having filed internal complaints related to discrimination and
       academic/research misconduct involving theft of research material. The
       issues stem from a former colleague, Dr. Mihwa[] Kim [MK], who engaged
       in academic and research misconduct by stealing my materials and
       research findings on bone cancer. When [MK] stole the material, she falsely
       accused me of sexual harassment which resulted in UTRGV conducting an
       investigation on me which lasted nearly two years. [MK] also filed criminal
       charges against me and I was unable to inform the court that the matter had
       been resolved by UTRGV due to their delay. The UTRGV investigation on
       the false accusations ultimately resulted in no findings against me. The
       delay of this investigation by UTRGV has interfered with my complaints of
       academic/research misconduct against [MK]. The delay in addressing my
       complaints has resulted in a loss of approximately $3.38 million dollars in
       research funding opportunities.

       UTRGV personnel have retaliated against me for filing internal complaints
       and grievances, and UTRGV has discriminated against me by not handling

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       my complaints and grievances in a fair, just, or prompt manner, as they
       would have for colleagues of other races, of other national origins, or of
       another gender. The research at issue is funded by NIH grants. Relevant
       UTRGV personnel have not followed federally-mandated procedures to
       address complaints of academic research misconduct involving NIH funds.
       Various UTRGV personnel have misled me about UTRGV policies and
       procedures when I have inquired with them about my internal complaints
       and grievances. In a letter dated May 17, 2021, Dean John H. Krouse
       affirmed a decision to dismiss my internal grievance against UTRGV. Dean
       Krouse even suggested that I transfer to another department for more
       fruitful funding opportunities rather than directly address my complaint of
       academic/research misconduct.

       These actions have resulted in unlawful discrimination and retaliation
       covered by Ch. 21 of the Texas Labor Code, Titles IV, VI, VII of the Civil
       Rights Act of 1964, and Title IX of the Education Amendments of 1972.

       On September 8, 2022, TWC issued Kim a right-to-sue letter informing him that he

had sixty days from the receipt of the notice to file a civil action. Kim subsequently filed

his original petition against UTRGV on November 8, 2022, and his second amended

petition on October 10, 2023 (“the petition”).

       UTRGV filed a plea to the jurisdiction asserting that Kim’s discrimination and

retaliation claims are barred because he failed to timely exhaust his administrative

remedies as required by Chapter 21 of the Texas Labor Code. See TEX. LAB. CODE ANN.

§ 21.202(a). Specifically, UTRGV argued Kim’s “[c]harge is devoid of allegations that an

adverse employment action occurred in the 180-day period between May 20, 2021, and

November 16, 2021, and the continuing violation doctrine does not apply.” See id.; Univ.

of Tex. v. Poindexter, 306 S.W.3d 798, 808 (Tex. App.—Austin 2009, no pet.) (“When

such ‘continuing violation’ discrimination occurs, the 180-day filing clock does not begin

to run until one of the involved discriminatory events should, in fairness and logic, have

alerted the average layperson to act to protect his or her rights.” (citation omitted)). The

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trial court granted UTRGV’s plea by submission. This interlocutory appeal followed. See

TEX. CIV. PRAC. &amp; REM. CODE ANN. § 51.014(a)(8) (providing for interlocutory appeal from

a trial court's order on a plea to the jurisdiction).

                                      II.     DISCUSSION

       By his sole issue, Kim argues that the trial court erred in granting UTRGV’s plea

to the jurisdiction because he timely exhausted his administrative remedies.

A.     Standard of Review

       “A plea to the jurisdiction is a dilatory plea, the purpose of which is to defeat a

cause of action without regard to whether the claims asserted have merit.” Bland Indep.

Sch. Dist. v. Blue, 34 S.W.3d 547, 554 (Tex. 2000). The plea challenges the trial court’s

subject matter jurisdiction over a pleaded cause of action. Tex. Dep’t of Parks &amp; Wildlife

v. Miranda, 133 S.W.3d 217, 226 (Tex. 2004). Subject matter jurisdiction is a question of

law; therefore, we review the trial court’s ruling on a plea to the jurisdiction de novo. Id.
       A plaintiff has the burden to affirmatively demonstrate the trial court’s jurisdiction.

Town of Shady Shores v. Swanson, 590 S.W.3d 544, 550 (Tex. 2019). “When a defendant

challenges jurisdiction, a court ‘is not required to look solely to the pleadings but may

consider evidence and must do so when necessary to resolve the jurisdictional issues

raised.’” Id. (quoting Bland Indep. Sch. Dist., 34 S.W.3d at 555); see Jones v. Turner, 646

S.W.3d 319, 325 (Tex. 2022) (explaining that a plea to the jurisdiction may challenge the

pleadings, the existence of jurisdictional facts, or both). This is true even when the

jurisdictional issue intertwines with the merits of the case. Swanson, 590 S.W.3d at 550.




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       When jurisdictional facts are challenged, our standard of review mirrors that of a

summary judgment. Alamo Heights Indep. Sch. Dist. v. Clark, 544 S.W.3d 755, 805 (Tex.

2018). We must take as true all evidence favorable to the nonmovant, indulge every

reasonable inference and resolve any doubts in the nonmovant’s favor, and disregard

contrary evidence unless a reasonable factfinder could not. See id. at 771; Miranda, 133

S.W.3d at 228. If the evidence raises a fact issue regarding jurisdiction, the plea cannot

be granted, and a factfinder must resolve the issue. Miranda, 133 S.W.3d at 227–28. On

the other hand, if the evidence is undisputed or fails to raise a fact issue, the plea must

be determined as a matter of law. Id. at 228; Mission Consol. Indep. Sch. Dist. v. Garcia,

372 S.W.3d 629, 635 (Tex. 2012).

B.     Applicable Law

       The Texas Commission on Human Rights Act (TCHRA) prohibits, among other

things, race, sex, and national origin discrimination and retaliation by employers. See TEX.

LAB. CODE ANN. §§ 21.051, 21.055. A jurisdictional prerequisite to filing suit under the

TCHRA is the exhaustion of administrative remedies. Lopez v. Tex. State Univ., 368

S.W.3d 695, 701 (Tex. App.—Austin 2012, pet. denied) (citations omitted). To meet the

exhaustion requirement, a person must, among other requirements, file a charge of

discrimination with the TWC within 180 days of the alleged discriminatory employment

action. See TEX. LAB. CODE ANN. §§ 21.201(a), (g), 21.202(a); Czerwinski v. Univ. of Tex.

Health Sci. Ctr., 116 S.W.3d 119, 121 (Tex. App.—Houston [14th Dist.] 2002, pet.

denied). “A lawsuit under the [TCHRA] is limited to claims made in the charge or complaint

filed with the [TWC] and factually related claims that can reasonably be expected to grow


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out of the commission’s investigation.” Santi v. Univ. of Tex. Health Sci. Ctr. at Houston,

312 S.W.3d 800, 805 (Tex. App.—Houston [1st Dist.] 2009, no pet.) (citation omitted).

       “An exception to the 180-day filing deadline is reflected in the ‘Continuing Action’

box included in the TWC charge, which is intended to cover unlawful discrimination or

retaliation that manifests itself over time, rather than as a series of discrete acts.”

Poindexter, 306 S.W.3d at 808; see Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101,

111–17 (2002). “When a charge is timely filed as to one act of discrimination, the doctrine

of continuing violation expands the scope of those discriminatory events that are

actionable, as long as one of the events occurs within the 180-day period.” Wal-Mart

Stores, Inc. v. Davis, 979 S.W.2d 30, 41 (Tex. App.—Austin 1998, pet. denied) (citing

Glass v. Petro-Tex Chem. Corp., 757 F.2d 1554, 1560-61 (5th Cir. 1985)); see Morgan,

536 U.S. at 112 (“This Court has [] held that discrete acts that fall within the statutory time

period do not make timely acts that fall outside the time period.”).

       “The crucial element of a charge of discrimination is the factual statement

contained” in the administrative complaint or charge. Preston v. Tex. Dep’t of Family &amp;

Prot. Servs., 222 F. App’x 353, 356 (5th Cir. 2007). “We construe the complaint liberally

to reach its substance, but we will not construe it to include facts that were initially

omitted.” Brownsville Indep. Sch. Dist. v. Alex, 408 S.W.3d 670, 674 (Tex. App.—Corpus

Christi–Edinburg 2013, no pet.) (citation omitted)).

C.     Analysis

       Kim filed his charge with the TWC on November 16, 2021. Thus, his 180-day

timeline ran from May 20, 2021, to November 16, 2021. See TEX. LAB. CODE ANN.


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§ 21.202(a). Kim’s charge alleged that the discrimination and retaliation he faced last

occurred 183 days before he filed his charge, from November 26, 2018, to May 17, 2021.

Nonetheless, he argues that the trial court has jurisdiction over his claim because his

charge falls within the continuing violation doctrine, as he checked the “continuing action”

box, and the “[c]harge specifically states that [the] violations by UTRGV were continuing.”

       However, the continuing violation doctrine only applies when the charge shows at

least one alleged violation occurred within the 180-day period. See Davis, 979 S.W.2d at

41; City of El Paso v. Marquez, 380 S.W.3d 335, 343 (Tex. App.—El Paso 2012, no pet.)

(“Under the continuing violation doctrine a plaintiff is relieved from proving that the entire

discriminatory practice occurred within the actionable time period, if he can show a series

of related acts, one or more which fall within the 180–day statutory deadline.”); Bartosh

v. Sam Houston State Univ., 259 S.W.3d 317, 326 (Tex. App.—Texarkana 2008, pet.

denied) (“[O]ur research reveals that, in every case applying Morgan or the ‘continuing

violation’ doctrine, to the extent the contents of the administrative complaint are

discussed, at least one non-time-barred act of harassment is actually complained of in

the administrative complaint.” (citations omitted)).

       The doctrine is intended to expand the scope of discriminatory events that are

actionable. See Davis, 979 S.W.2d at 41; see also Donna Indep. Sch. Dist. v. Rodriguez,

No. 13-09-00185-CV, 2009 WL 2962376, at *3 (Tex. App.—Corpus Christi–Edinburg

Sept. 17, 2009, no pet.) (mem. op.). It cannot be used to pull in a time-barred

discriminatory act. See Bartosh, 259 S.W.3d at 326; see also Donna Indep. Sch. Dist. v.

Castillo, No. 13-19-00395-CV, 2020 WL 4812638, at *6 (Tex. App.—Corpus Christi–


                                              7
Edinburg Aug. 13, 2020, pet. denied) (mem. op.). Because Kim did not allege an unlawful

discriminatory or retaliatory action within the 180-day period in his charge, the continuing

violation doctrine is inapplicable. See Bartosh, 259 S.W.3d at 326; see also Castillo, 2020

WL 4812638, at *6 (holding that plaintiff’s claim of hostile work environment was untimely

because her charge did not allege any specific instances of sexual harassment within 180

days of filing her charge); Rodriguez, 2009 WL 2962376, at *3 (“Because Rodriguez did

not file a complaint with the TCHR within 180 days of the grievance, she [] failed to invoke

the trial court’s jurisdiction with respect to the allegations contained” in her charge).

       Kim contends that the trial court had jurisdiction to hear his claims because he

alleges acts occurring within the 180-day period in his petition and those acts could

“reasonably be expected to grow out of [his] discrimination charge.” See Santi, 312

S.W.3d at 805. However, “[i]n determining what may reasonably be expected to grow

from the complaint, the court considers only what can be determined from the timely-

alleged facts.” Bartosh, 259 S.W.3d at 327. Here, Kim did not allege in his charge that

any of the discrimination or retaliation occurred within the 180-day period. See id.; Davis,

979 S.W.2d at 41; Marquez, 380 S.W.3d at 343. Finally, we note that we cannot construe

Kim’s charge “to include facts that were initially omitted.” See Alex, 408 S.W.3d at 674.

       Because Kim alleged that the last day of discrimination and retaliation occurred

more than 180 days before he filed his charge, the charge was not timely, and the trial

court did not have jurisdiction over Kim’s claims. See Bartosh, 259 S.W.3d at 326–27;

see also Castillo, 2020 WL 4812638, at *6; Rodriguez, 2009 WL 2962376, at *3. We

overrule Kim’s sole issue.


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                                  III.   CONCLUSION

      We affirm the trial court’s judgment.

                                                      DORI CONTRERAS
                                                      Chief Justice

Delivered and filed on the
22nd day of August, 2024.




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